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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW JERSEY



 YOSH HAN,                                     Case No. 2:23-cv-4147

                   Plaintiff,

vs.
                                               CLASS ACTION COMPLAINT
INTERNATIONAL FLAVORS &
FRAGRANCES, INC.; GIVAUDAN SA;                 JURY TRIAL DEMANDED
GIVAUDAN FRAGRANCES
CORPORATION; GIVAUDAN
FLAVORS CORPORATION;
GIVAUDAN ROURE (UNITED
STATES) INC.; UNGERER &
COMPANY INC.; CUSTOM ESSENCE
INC.; SYMRISE AG; SYMRISE INC.;
SYMRISE US LLC; DSM-FIRMENICH
AG; FIRMENICH INC.; AND AGILEX
FLAVORS & FRAGRANCES, INC.,

                   Defendants.
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       Plaintiff Yosh Han, individually and on behalf of those similarly situated, brings this

class action complaint under Section 1 of the Sherman Act, 15 U.S.C § 1, and alleges as follows:

I.     INTRODUCTION
       1.      The global fragrance industry is valued at $13.9 billion per year. Defendants

Firmenich, Givaudan, International Flavors & Fragrances, and Symrise dominate that industry,

producing fragrances and fragrance ingredients and controlling more than 60% of the worldwide

and U.S. fragrance market.

       2.      Fragrance ingredients are ubiquitous and incorporated into virtually every

consumer product, including perfumes, candles, deodorants, detergents, cleaning sprays,

cosmetics, skin care, and hair products. But while fragrance ingredients are ubiquitous in products

consumers use every day, the fragrance industry is shrouded in secrecy. Until now.

       3.      On March 7, 2023, the European Commission, in collaboration with competition

authorities from the United Kingdom, United States, and Switzerland, raided several fragrance

manufacturers on concerns that they may be taking part in a cartel for fragrances used in the

manufacture of perfumes and consumer products. The Swiss Competition Commission confirmed

that it had raided Defendants Symrise, Givaudan, Firmenich, and International Flavors &

Fragrances in conjunction with the European Commission, the U.S. Department of Justice

Antitrust Division, and the UK Competition and Markets Authority because “[t]here are suspicions

that these undertakings have coordinated their pricing policy, prohibited their competitors from

supplying certain customers and limited the production of certain fragrances.”1

       4.      These coordinated, multi-national investigations uncovered a cartel in which, as

early as 2018, Defendants agreed to restrain trade by artificially stabilizing and increasing prices,

artificially restricting output, and allocating the market.     Defendants’ agreement increased

fragrance and fragrance ingredient prices above competitive levels. Price trends of fragrance

ingredients cannot be explained by other economic factors. For instance, the price trend of
1
 COMCO Investigates Possible Collusions in the Fragrance Market, Swiss Competition
Comm’n (Mar. 8, 2023), https://www.weko.admin.ch/weko/en/home/medien/press-releases/nsb-
news.msg-id-93502.html.



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petroleum, a key raw material from which 95% of synthetic fragrance ingredients are derived, does

not account for fragrance ingredient price trends: Fragrance prices stabilized at an increased level

starting in 2018 despite decreasing petroleum prices.

       5.      As a direct result of Defendants’ anticompetitive and unlawful conduct, Plaintiff

Yosh Han and Class members paid artificially inflated prices for fragrances and fragrance

ingredients during the Class Period from January 1, 2018 through the present and thus suffered

antitrust injury to their business or property.

II.    JURISDICTION AND VENUE
       6.      Plaintiff brings this action to recover damages and obtain injunctive relief,

including treble damages, costs of suit, and reasonable attorneys’ fees, arising from Defendants’

violations of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       7.      The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of the

Clayton Act (15 U.S.C. §§ 15 and 26) and 28 U.S.C. §§ 1331 and 1337.

       8.      Defendants are subject to the jurisdiction of this Court because, inter alia, each

defendant either directly or through the ownership and/or control of their subsidiaries: (a)

transacted business throughout the United States, including in this district; (b) participated in the

sale and distribution of fragrances and fragrance ingredients throughout the United States,

including in this district; (c) had substantial contacts with the United States, including in this

district; and/or (d) was engaged in an illegal conspiracy that was directed at and had the intended

effect of causing injury to persons residing in, located in, or doing business throughout the United

States, including in this district. Defendants’ conduct directly targeted the United States fragrance

and fragrance ingredient market and were within the flow of, were intended to, and did have, a

substantial effect on interstate commerce of the United States.

       9.      Venue is proper in this judicial district pursuant to Section 12 of the Clayton Act

(15 U.S.C. § 22) and 28 U.S.C. § 1391(b) and (c) because one or more Defendants transacted

business in this district and a substantial portion of the affected interstate trade and commerce

described below has been carried out in this district.



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III.    THE PARTIES

        A.     PLAINTIFF
        10.    Plaintiff Yosh Han formulates, manufactures, and sells perfumes. She is a citizen

and resident of the State of California. During the Class Period, Plaintiff purchased fragrance

ingredients from Defendants, including Defendant Givaudan SA, at prices artificially inflated by

the cartel.

        B.     DEFENDANTS
International Flavors & Fragrances

        11.    Defendant International Flavors & Fragrances, Inc. (“IFF”) is an American

corporation headquartered in New York, New York at 521 West 57th Street. Defendant IFF is a

public company traded on the New York Stock Exchange under the ticker IFF. Defendant IFF

created and manufactured fragrances and fragrance ingredients sold throughout the United States,

including this District, during the Class Period. It is the single largest fragrance manufacturer in

the world.

Givaudan
        12.    Defendant Givaudan SA is a Swiss corporation headquartered in Vernier,

Switzerland at Chemin de la Parfumerie 5, 1214. Defendant Givaudan SA is a public company.

Defendant Givaudan SA created and manufactured fragrances and fragrance ingredients sold

throughout the United States, including this District, during the Class Period. It is the second

largest fragrance manufacturer in the world.

        13.    Defendant Givaudan Fragrances Corporation is a United States subsidiary of

Givaudan SA headquartered in East Hanover, New Jersey at 717 Ridgedale Ave. Defendant

Givaudan Fragrances Corporation is incorporated in Delaware.

        14.    Defendant Givaudan Flavors Corporation is a United States subsidiary of Givaudan

SA headquartered in Cincinnati, Ohio at 1199 Edison Drive 1-2. Defendant Givaudan Flavors

Corporation is incorporated in Delaware.




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       15.      Defendant Givaudan Roure (United States) Inc. is a United States subsidiary of

Givaudan SA headquartered in Cincinnati, Ohio at 1199 Edison Drive 1-2. Defendant Givaudan

Roure (United States) Inc. is incorporated in Delaware.

       16.      Defendant Ungerer & Company Inc. is a United States subsidiary of Givaudan SA

headquartered in Lincoln Park, New Jersey at 4 Ungerer Way. Defendant Ungerer & Company

Inc. is incorporated in Delaware. On February 20, 2020, Givaudan SA acquired Ungerer &

Company Inc.2

       17.      Defendant Custom Essence Inc. is a United States subsidiary of Givaudan SA

headquartered in Somerset, New Jersey at 53 Veronica Avenue. On December 3, 2021, Givaudan

SA acquired Custom Essence Inc.3
       18.      Defendants Givaudan SA, Givaudan Fragrances Corporation, Givaudan Flavors

Corporation, Givaudan Roure (United States) Inc., Ungerer & Company, Inc., and Custom Essence

Inc. are collectively referred to as “Givaudan.”

Symrise

       19.      Defendant Symrise AG is a German corporation headquartered in Holzminden,

Germany at Mühlenfeldstraße 1 37603. Defendant Symrise AG is a public company. Defendant

Symrise AG created and manufactured fragrances and fragrance ingredients sold throughout the

United States, including this District, during the Class Period. It is the third largest fragrance

manufacturer in the world.

       20.      Defendant Symrise Inc. is a United States subsidiary of Symrise AG headquartered

in Teterboro, New Jersey at 300 North Street. Defendant Symrise Inc. is incorporated in Delaware.




2
  Press Release, Givaudan, Givaudan Completes Acquisition of Ungerer (Feb. 20, 2020, 18:00
CET), https://www.givaudan.com/media/media-releases/2020/givaudan-completes-acquisition-
ungerer.
3
  Press Release, Givaudan, Givaudan Completes the Acquisition of Custom Essence (Dec. 3,
2021, 18:00 CET), https://www.givaudan.com/media/media-releases/2021/givaudan-completes-
acquisition-custom-essence.



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       21.     Defendant Symrise US LLC is a United States subsidiary of Symrise AG

headquartered in Teterboro, New Jersey at 300 North Street. Defendant Symrise US LLC is

incorporated in Delaware.

       22.     Defendants Symrise AG, Symrise Inc., and Symrise US LLC are collectively

referred to as “Symrise.”

Firmenich

       23.     Defendant DSM-Firmenich AG is a Swiss corporation headquartered in

Kaiseraugst, Switzerland and Maastricht, Netherlands. Defendant DSM-Firmenich AG is a public

company formed by the merger of DSM and Firmenich International SA on May 9, 2023.4
Firmenich International SA was a private company before the merger. Defendant DSM-Firmenich

SA created and manufactured fragrances and fragrance ingredients sold throughout the United

States, including this District, during the Class Period.       It is the fourth largest fragrance

manufacturer in the world.

       24.     Defendant Firmenich Inc. is a United States subsidiary of DSM-Firmenich AG

headquartered in Plainsboro, New Jersey at 250 Plainsboro Rd. Defendant Firmenich Inc. is

incorporated in Delaware.

       25.     Defendant Agilex Flavors & Fragrances, Inc. is a United States subsidiary of DSM-

Firmenich AG headquartered in Piscataway, New Jersey at 140 Centennial Ave. Defendant Agilex

Flavors & Fragrances, Inc. is incorporated in Delaware.

       26.     Defendants DSM-Firmenich AG, Firmenich Inc., and Agilex Flavors &

Fragrances, Inc. are collectively referred to as “Firmenich.”

IV.    FACTUAL ALLEGATIONS

       A.      The Fragrance and Fragrance Ingredient Market
       27.     Fragrance is ubiquitous. Companies incorporate fragrance into virtually every

consumer product including perfumes, candles, deodorants, detergents, cleaning sprays,

4
 Press Release, Firmenich, Firmenich Completes Merger of Equals With DSM (May 9, 2023),
https://www.firmenich.com/company/press-release/firmenich-completes-merger-equals-dsm.



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cosmetics, skin care, and hair products. Manufacturing fragrance for those products is a multi-

billion dollar business: In 2022, the global fragrance market was worth approximately $13.9

billion.5

        28.    Four companies dominate the worldwide fragrance market: Defendants IFF,

Givaudan, Symrise, and Firmenich. In addition to manufacturing fragrances, these and other

fragrance manufacturers also manufacture flavors (additives to improve the taste or smell of food),

as well as the aroma molecules and cosmetic ingredients. These three markets are collectively

known as the Aromatic Flavors and Fragrances (“AFF”) market. In 2022, the global AFF market

was approximately $40.95 billion.6 The four dominant fragrance companies represent 64% of the
AFF market: IFF, 22%; Givaudan, 18%; Syrmise, 12%; and Firmenich, 11%.7 As of 2021,

Defendants controlled more than 70% of the North American fragrance market.8




5
  Symrise, Corporate Report 2022 at 121 (Mar. 8, 2023),
https://symrise.com/corporatereport/2022/downloads/SYM_corporatereport_2022_EN.pdf
(converted from Euros to USD).
6
  Id.
7
  Id.
8
  The Fragrance Science & Advocacy Council in North America Has Touched its 100-Day
Milestone with Defined Key Focus Areas, FSAC (Sept. 20, 2021),
https://fsac.org/communications/fragrance-science-advocacy-council-north-america-has-
touched-its-100-day-milestone.



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Source: Symrise, Corporate Report 2022 121 (Mar. 8, 2023),
https://symrise.com/corporatereport/2022/downloads/SYM_corporatereport_2022_EN.pdf.
       29.     The fragrance market is composed of three major segments: fine fragrances,

functional fragrances, and fragrance ingredients. Fine fragrances give perfumes their scent. Most

perfume brands, however, do not formulate the fine fragrances in their perfumes. Instead, they

hire fragrance manufacturers to create them based on prompts. Fragrance companies then combine

fragrance ingredients—aroma chemicals or essential oils—to formulate and manufacture fine

fragrances.
       30.     Functional fragrances give personal care and household products their scent.

Products ranging from disinfectant cleaners to shampoos, detergents, and deodorants contain

functional fragrances. Manufacturers specifically formulate these fragrances for use in personal

care or household products. Like perfume brands, consumer product companies typically buy

functional fragrances from fragrance manufacturers.

       31.     Fragrance ingredients are the raw materials combined to create fine or functional

fragrances.   Fragrance manufacturers use the aroma chemicals they produce in their own

fragrances, but they also market those ingredients to other manufacturers and distributors. For




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example, perfume brands that formulate and manufacture their own fine fragrances, like Plaintiff,

purchase fragrance ingredients.

       B.      Defendants Conspired to Restrain Trade in the U.S. Fragrance Market.
       32.     Beginning on at least January 1, 2018, through the present, Defendants agreed to

fix prices, restrict output, and allocate the market for fragrances and fragrance ingredients sold in

the United States. Such horizontal agreements are a per se violation of the antitrust laws.

       33.     Circumstantial evidence demonstrates the existence of Defendants’ unlawful

agreement.

       34.     First, the timing of Defendants’ public price increase announcements during the

Class Period indicates the cartel exists. The first coordinated price increases occurred in the fall

of 2018. Defendant Symrise reported price increases on August 14, 2018, citing growing raw

material costs.9 Defendant IFF publicly followed on September 6, 2018, and Defendant Givaudan

did the same on October 8, 2018.10 Near-simultaneous price increases occurred repeatedly

between 2018 and the present. For instance, Defendants Givaudan, IFF, and Syrmise publically

announced price increases in July and August of 2019.11 The Defendants again announced


9
  Strong Organic Growth of 9.0% in the First Half of 2018, Symrise (Aug. 14, 2018),
https://www.symrise.com/newsroom/article/strong-organic-growth-of-90-in-the-first-half-of-
2018/.
10
   Transcript: International Flavor & Fragrances Inc. Presents at Barclays Global Consumer
Staples Conference, MarketScreener (Sept. 6, 2018),
https://www.marketscreener.com/quote/stock/INTERNATIONAL-FLAVORS-F-
13047/news/Transcript-International-Flavors-Fragrances-Inc-Presents-at-Barclays-Global-
Consumer-Staples-Co-37949946/; Press Release, Givaudan, 2018 Nine Month Sales (Oct. 8,
2018), https://www.givaudan.com/media/media-releases/2018/2018-nine-month-sales.
11
   Symrise AG (SYIEF) CEO Heinz-Jürgen Bertram on Q2 2019 Results: Earnings Call
Transcript, Seeking Alpha (Aug. 10, 2019),
https://seekingalpha.com/article/4284389-symrise-ag-syief-ceo-heinz-jurgen-bertram-on-q2-
2019-results-earningscall-transcript; International Flavors & Fragrances, Inc. (IFF) CEO
Andreas Fibig on Q2 2019 Results - Earnings Call Transcript, Seeking Alpha (Aug. 6, 2019),
https://seekingalpha.com/article/4282370-international-flavors-and-fragrances-inc-iff-ceo-
andreas-fibig-on-q2-2019-results-earnings; Givaudan SA (GVDBF) CEO Gilles Andrier on Q2
2019 Results - Earnings Call Transcript, Seeking Alpha (July 18, 2019),
https://seekingalpha.com/article/4275832-givaudan-sa-gvdbf-ceo-gilles-andrier-on-q2-2019-
results-earnings-call-transcript.




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increases in short succession during 2022: Defendant IFF announced further fragrance price

increases in March 2022, Defendant Givaudan announced the same in April 2022 and again in July

2022, and both Defendants Symrise and Firmenich confirmed further increases in August 2022.12

Defendants IFF, Firmenich, and Syrmise again announced seemingly coordinated increases in

February and March of 2023.13

       35.    Second, Defendants’ public statements about the success of those price increases

suggest the existence of Defendants’ cartel. Defendants have repeatedly boasted that their prices

increases grew their fragrance businesses. In September 2019, for example, the current CEO of

Defendant IFF stated that the company had “seen in the last couple of quarters a mid-single-digit

growth on the scent business, which was probably driven by – half of it volume growth, half of it

price growth.”14 Regarding 2020, Defendant Symrise’s CFO stated “[i]n Scent & Care, 40% of


12
   Press Release, Int’l Fragrance & Flavor, IFF Announces Global Price Increases Across All
Divisions (Mar. 17, 2022), https://ir.iff.com/news-releases/news-release-details/iff-announces-
global-price-increases-across-all-divisions; Givaudan to Keep Raising Prices After Q1 Sales
Grew 4.6%, Reuters (Apr. 12, 2022, 12:03 AM PDT), https://www.reuters.com/business/retail-
consumer/givaudan-keep-raising-prices-after-q1-sales-grew-46-2022-04-12/; Silke Koltrowitz,
Givaudan to Accelerate Price Increases as Input Costs Hit Margins, Reuters (July 21, 2022, 1:02
AM PDT), https://www.reuters.com/business/retail-consumer/givaudan-confirms-mid-term-
targets-works-pass-higher-prices-2022-07-21/; Jagoda Darlak & David Latona, Symrise Hikes
Forecast as Higher Prices, Demand Offset Soaring Costs, Reuters (Aug. 2, 2022, 2:32 AM
PDT), https://www.reuters.com/business/germanys-symrise-raises-sales-outlook-increased-
demand-2022-08-02/; Jennifer Well, Firmenich Posts Record Full-year Top- and Bottom-line
Growth, yahoo! (Aug. 5, 2022), https://www.yahoo.com/lifestyle/firmenich-posts-record-full-
top-182010078.html.
13
   International Flavors & Fragrances Inc. (IFF) Q4 2022 Earnings Call Transcript, Seeking
Alpha (Feb. 9, 2023), https://seekingalpha.com/article/4576967-international-flavors-and-
fragrances-inc-iff-q4-2022-earnings-call-transcript; Firmenich Delivers Strong Results in First
Half of Fiscal Year 2023, Firmenich (Feb. 16, 2023),
https://www.firmenich.com/company/press-release/firmenich-delivers-strong-results-first-half-
fiscal-year-2023; Jagoda Darlak & Linda Pasquini, Symrise Shares Slip on Fragrance Cartel
Probe, Reuters (Mar. 8, 2023, 3:24 AM PST),
https://www.reuters.com/markets/europe/germanys-symrise-forecasts-stable-profit-margin-2023-
2023-03-08/.
14
    Transcript: International Flavors & Fragrances Inc. Presents at Bernstein 16th Annual
Strategic Decisions CEO Conference, MarketScreener (Sept. 25, 2019),
https://www.marketscreener.com/quote/stock/INTERNATIONAL-FLAVORS-F-
13047/news/Transcript-International-Flavors-Fragrances-Inc-Presents-at-Bernstein-16th-Annual-
Strategic-Dec-37916407/.




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the organic growth was pricing.”15 Defendant Givaudan likewise reported in 2020 Q2 that “on a

like-for-like basis, our fragrance division grew 4.5%” and that it expected profitability to improve

in part because of price increases.16 In addition, during its 2020 earnings call, Defendant Firmenich

attributed 6% revenue growth in consumer fragrance and overall increased profitability to

“successful pricing initiatives.”17 As recently as earlier this year, the Defendants continued to

report business growth driven by successful price increases.18

       36.     Defendants’ highly profitable increases would not have been possible in a

competitive market, where customers respond to rising prices by moving to less expensive

alternatives offered by competitors. Here, however, each Defendant was able to increase prices

without fear of losing customers to another major fragrance manufacturer because the four

dominant manufacturers all agreed to join the cartel.

       37.     Third, pricing data confirms the cartel’s existence. The U.S. Bureau of Labor

Statistics’ Producer Price Index for Synthetic Organic Chemicals for Use as Flavor and Perfume

measures the change over time in the selling prices received by flavor and fragrance producers. In

the years before the conspiracy, prices were consistently falling. Starting in 2018, when the cartel

first formed, prices stabilized and then increased. This departure from historically decreasing

prices further reveals the cartel’s existence.



15
   Symrise AG (SYIEF) CEO Heinz-Jürgen Bertram on 2020 Financial Results – Earnings Call
Transcript, Seeking Alpha (Mar. 19, 2021, 3:18 PM ET),
https://seekingalpha.com/article/4412605-symrise-ag-syief-ceo-heinz-jurgen-bertram-on-2020-
financial-results-earnings-call-transcript.
16
   Givaudan SA (GVDBF) CEO Gilles Andrier on Q2 2020 Results - Earnings Call Transcript,
Seeking Alpha (July 21, 2020, 3:33 PM ET), https://seekingalpha.com/article/4359705-
givaudan-sa-gvdbf-ceo-gilles-andrier-on-q2-2020-results-earnings-call-transcript.
17
   Firmenich FY2020 Results Presentation 6, 9 Firmenich (Aug. 11, 2020),
https://img06.en25.com/Web/FirmenichCorporateCenter1/%7B9d9f3b4e-0acc-4b30-962d-
5928f45ab012%7D_Firmenich_FY_2020_Results_Transcript.pdf?elqTrackId=26580461103648
9895ecc66f42fe3100&elqaid=450&elqat=2.
18
   See, e.g., Givaudan SA (GVDBF) Q4 2022 Earning Call Transcript, Seeking Alpha (Jan. 25,
2023, 12:37 PM ET), https://seekingalpha.com/article/4572304-givaudan-sa-gvdbf-q4-2022-
earnings-call-transcript; (IFF) Q4 2022 Earnings Call, supra note 13; Firmenich Delivers Strong
Results, supra note 13.



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                 Producer Price Index for Synthetic Organic Chemicals for Use as
                                       Flavor and Perfume
 140.000

 135.000

 130.000

 125.000

 120.000

 115.000

 110.000

 105.000
            2015-01-01
            2015-04-01
            2015-07-01
            2015-10-01
            2016-01-01
            2016-04-01
            2016-07-01
            2016-10-01
            2017-01-01
            2017-04-01
            2017-07-01
            2017-10-01
            2018-01-01
            2018-04-01
            2018-07-01
            2018-10-01
            2019-01-01
            2019-04-01
            2019-07-01
            2019-10-01
            2020-01-01
            2020-04-01
            2020-07-01
            2020-10-01
            2021-01-01
            2021-04-01
            2021-07-01
            2021-10-01
            2022-01-01
            2022-04-01
            2022-07-01
            2022-10-01
            2023-01-01
            2023-04-01
Source: U.S. Bureau of Labor Stats., Producer Price Index for Synthetic Organic Chemicals for
Use as Flavor and Perfume, Not Seasonally Adjusted,
https://fred.stlouisfed.org/series/WPU061403997 (last visited June 30, 2023).
           38.      Critically, the cost of raw materials does not explain the price increases during the

Class Period. Up to 95% of synthetic fragrance ingredients are derived from petroleum.19 The

chart below shows the difference between pricing for fragrance ingredients (red line) and

petroleum (blue line). Notably, the price of petroleum, a key raw material, does not explain

fragrance ingredient pricing during the Class Period.




19
   Lisa Paulsen, The Health Risks of Chemicals in Personal Care Products and Their Fate in the
Environment, Conn. Coll. Chemistry Honors Papers 52 (2015); see also Gandhi Rádis-Baptista,
Do Synthetic Fragrances in Personal Care and Household Products Impact Indoor Air Quality
and Pose Health Risks, 13 J. Xenobiotics 121, 122 (2023) (“synthetic scents, primarily derived
from petroleum”).



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                 Crude Petroleum and Natural Gas Extraction PPI vs. Synthetic
                    Organic Chemicals for Use as Flavor and Perfume PPI
 400.000
 350.000
 300.000
 250.000
 200.000
 150.000
 100.000
  50.000
   0.000
            2018-01-01
            2018-03-01
            2018-05-01
            2018-07-01
            2018-09-01
            2018-11-01
            2019-01-01
            2019-03-01
            2019-05-01
            2019-07-01
            2019-09-01
            2019-11-01
            2020-01-01
            2020-03-01
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            2021-01-01
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            2022-01-01
            2022-03-01
            2022-05-01
            2022-07-01
            2022-09-01
            2022-11-01
            2023-01-01
            2023-03-01
            2023-05-01
                       Producer Price Index for Crude Petroleum and Natural Gas Extraction
                       Producer Price Index for Synthetic Organic Chemicals for Use as Flavor and Perfume

Source: U.S. Bureau of Labor Stats., Producer Price Index for Crude Petroleum and Natural
Gas Extraction, https://fred.stlouisfed.org/series/PCU2111112111111 (updated July 13, 2023);
U.S. Bureau of Labor Stats., Producer Price Index Synthetic Organic Chemicals for Use as
Flavor and Perfume, Not Seasonally Adjusted, https://fred.stlouisfed.org/series/WPU061403997
(updated June 14, 2023).

           C.      Government Investigations Also Support the Existence of Defendants’
                   Cartel.
           39.     Defendants are the targets of an international antitrust investigation.

           40.     On March 8, 2023, the Swiss Competition Commission announced an antitrust

investigation in the fragrance industry. That announcement disclosed that antitrust enforcers in
the European Union, the United Kingdom, Switzerland, and the United States jointly conducted

dawn raids at Defendants IFF, Givaudan, Syrmise, and Firmenich.20 Antitrust authorities also

raided an industry organization, the International Fragrance Association (“IFRA”).21 Defendant

IFF received a grand jury subpoena from the U.S. Department of Justice’s Antitrust Division.22

20
   Competition Commission, supra note 1; Press Release, European Commission, Antitrust:
Commission Confirms Unannounced Inspections in the Fragrance Sector (Mar.7, 2023),
https://ec.europa.eu/commission/presscorner/detail/en/ip_23_1532.
21
   Id.; John Gapper, Investigators Sniff Out the Hidden Fragrance Industry, Fin. Times (Mar. 17,
2023), https://www.ft.com/content/96dd63ed-f5b9-4d96-9566-5dda30bca163.
22
   IFF, Quarterly Report 25 (Form 10-Q) (May 3, 2023), https://ir.iff.com/static-files/8afb7475-
46da-42f2-81e8-24ea54258093.




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       41.     The antitrust enforcers also disclosed that “suspicions that these undertakings have

coordinated their pricing policy, prohibited their competitors from supplying certain customers

and limited the production of certain fragrances” prompted the investigation.23

       42.     Each Defendant has confirmed the raids.24

       43.     The international antitrust investigation targeting Defendants further supports the

existence of the cartel alleged in this complaint. The issuance of a grand jury subpoena to

Defendant IFF is particularly significant. To start, it indicates that the investigation is criminal.

According to the Antitrust Division’s Manual, before a grand jury subpoena is issued staff assess

“the likelihood that, if a grand jury investigation developed evidence confirming the alleged

anticompetitive conduct, the Division would proceed with a criminal prosecution.”25 Further, all
requests to issue a grand jury subpoena must be approved by the division’s entire chain of

command, from the relevant field office chief up through the Assistant Attorney General.26

       D.      “Plus Factors” Render the Fragrance and Fragrance Ingredient Market
               Susceptible to the Formation and Maintenance of a Cartel.
       44.     The fragrance and fragrance ingredient market has numerous features, referred to

as “plus factors,” that are conducive to a cartel and make collusion particularly attractive. These

include (1) high barriers to entry, (2) market concentration, (3) inelastic demand, (4) relative

fungibility of fragrances and fragrance ingredients, and (5) numerous opportunities to collude

through trade associations.

       45.     High Barriers to Entry. New fragrance manufacturers are unlikely to undercut

cartel pricing, output, or market allocation because they face high barriers to entering the fragrance


23
   Competition Commission, supra note 1.
24
   Ludwig Burger & John Stonestreet, Givaudanm Symrise, DSM Shares Drop on Global
Fragrance Cartel Probe, Reuters (Mar. 8, 2023, 4:31 AM PST),
https://www.reuters.com/markets/europe/swiss-antitrust-agency-names-4-firms-fragrances-
cartel-probe-2023-03-08/.
25
   U.S. Dep’t of Justice, Antitrust Division Manual III-82 (updated Apr. 2015) (emphasis added),
https://www.justice.gov/sites/default/files/atr/legacy/2015/05/13/atrdivman.pdf .
26
   Id. at III-83.




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and fragrance ingredient market. Defendant Syrmise has acknowledged that such barriers exist.27

They include the high costs of necessary research and development, establishing global supply

chains, and developing sufficient manufacturing facilities. New entrants must also overcome non-

cost barriers, such as establishing relationships with customers who have a long history of

“intensive cooperation” with incumbent manufacturers.28 Individual customer relationships are

particularly critical because “the majority of products and recipes are manufactured specifically

for individual customers.”29

       46.     Market Concentration. The fragrance and fragrance ingredient market is highly

concentrated. Defendants, the four dominant manufacturers, control 64% of the global AFF

market.30 As of 2021, Defendants controlled more than 70% of the North American fragrance
market.31 Those shares are presumably the same in the U.S. Fragrance market, which comprises

the vast majority of the North American market. Such market concentration facilitates collusion

by increasing the benefit of joining a cartel. If a market is comprised of a large number of firms,

then the gain for an individual firm from undercutting the cartel and gaining market share is large

relative to that firm’s share of the cartel profits. But if there are fewer firms in a market, then a

firm’s greater share of the cartel profits will outweigh the short term benefit of undercutting the

cartel for a temporary increase in market share.

       47.     Inelastic Demand. Elasticity of demand is an economic concept that relates

sensitivity of demand to changes in price. Demand for a product is elastic when most consumers

switch to substitutes, i.e., similar products, in response to a price increase. Conversely, demand is

inelastic when most consumers continue to buy a product despite a price increase. Demand for

fragrances and fragrance ingredients is inelastic because no reasonable substitutes exist. No other

product can give perfume or a consumer product a pleasing scent. Nor is it possible to forego

27
   Symrise, supra note 5 at 120.
28
   Id.
29
   Id.
30
   Id. at 121.
31
   FSAC, supra note 8.



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fragrance. The sole purpose of many products—like perfume, deodorant, or air freshener—are

their scent. Fragrance also plays a key role in determining consumers’ preferences for other

fragrance containing products and is even necessary in products marketed as unscented to mask

unpleasant odors. Inelastic demand in this market facilitates collusion because Defendants can

increase their prices above competitive levels without fear that their customers will switch to a

substitute and offset the benefit of the cartel price.

        48.     Relative Fungibility. Fragrances and fragrance ingredients are relatively fungible.

In other words, a particular fragrance compound or fragrance ingredient produced by one

manufacturer would be interchangeable with the same produced by another manufacturer. Indeed,

that compound or ingredient would be chemically identical.           Fragrances’ fungible nature

incentivizes collusion because fragrance manufacturers like Defendants cannot increase their

prices in a competitive market without losing share to a cheaper competitor. By contrast, firms in

a market of differentiated products could raise prices in a competitive market because customers

will not switch to a cheaper competitor.

        49.     Trade Associations. Defendants had numerous opportunities to collude through

trade associations.

        50.     All defendants are members of IFRA, an industry association for multinational

fragrance companies headquartered in Geneva, Switzerland. Three groups compose IFRA: regular

members, multinational fragrance companies; national fragrance associations with members in

their respective nations; and supporting members, fragrance manufacturers in countries without a

national association. Defendants are four of IFRA’s seven regular members.32

        51.     Defendants had opportunities to collude at IFRA events, including its annual Global

Fragrance Summit. Similarly, Defendants each have an employee on the IFRA board and IFRA’s

current chairman is Defendant Syrmise’s former chief sustainability officer.33

32
   Membership of IFRA, IFRA, https://ifrafragrance.org/about-ifra/membership (last visited Aug.
2, 2023).
33
   Key people, IFRA, https://ifrafragrance.org/about-ifra/our-people (last visited Aug. 2, 2023).




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       52.     IFRA publishes the IFRA Standards. Those standards ban, limit, or set criteria for

the use of certain fragrance ingredients in a wide range of products, including perfumes and

consumer products, for IFRA members.34 In 2020, IFRA added “a larger-than-usual number of

bans, restrictions and specifications (such as purity criteria) on ingredients” to its standards

“inspir[ing] an especially ferocious backlash” among perfume enthusiasts.35

       53.     The IFRA Standards are determined through collaboration with the Research

Institute for Fragrance Materials (“RIFM”).36 Defendants are also members of RIFM. Defendant

Symrise’s Boris Mueller is the chair of RIFM’s Advisory Committee.37 Defendants IFF, Givudan,

and Firmenich each have an employee on that committee as well.38 All Defendants also have
employees on RIFM’s Core Teams, which focus on specific strategic issues.39

       54.     During the Class Period, Defendants were also members of two North American

trade associations, the Fragrance Creators Association (“FCA”) and the Fragrance Science

Advisory Council (“FSAC”).        Defendants were previously members of FCA, which has

approximately sixty member companies that span the fragrance industry supply chain. In recent

years, the FCA has focused on increasing transparency in the fragrance industry. In 2019, for

example, the FCA launch The Fragrance Conservatory, an educational website for consumers on

the creation, sustainability, and safety of fragrances and fragrance ingredients.40 By March, 2021,


34
   IFRA Code of Practice, IFRA, https://ifrafragrance.org/about-ifra/ifra-code-of-practice (last
visited Aug. 2, 2023).
35
   Noy Thrupkaew, A Big Stink in the World of Perfume, Wash. Post Magazine (Apr. 21, 2021),
https://www.washingtonpost.com/magazine/2021/04/21/perfume-makers-raising-a-stink-over-
new-safety-rules/.
36
   How do we set the IFRA Standards?, IFRA, https://ifrafragrance.org/safe-use/how-do-we-set-
the-ifra-standards (last visited Aug. 2, 2023).
37
   Our Leadership Teams, RIFM, https://rifm.org/leadership-teams/ (last visited Aug. 2, 2023).
38
   Id.
39
   Id.
40
   Fragrance Creators Catalogues nearly 300 Ingredients, Expanding Best-in-Class Fragrance
Education Resource, Fragrance Creators Ass’n (Feb. 7, 2022),
https://www.fragrancecreators.org/fragrance-creators-catalogues-nearly-300-ingredients-
expanding-best-in-class-fragrance-education-resource.




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however, Defendants left the FCA and jointly founded the FSAC. Defendants were four of that

association’s five members. According to Shawn Blythe, FSAC president and board chairman and

then chief integration officer at Defendant IFF, that organization would “play a leading role in

defending fragrance ingredients before federal and state policymakers, and potentially also against

consumer and special interest criticism.”41 Defendant IFF terminated its FSAC membership after

the dawn raids.42

       E.      Defendants Have Ample Motive to Conspire.
       55.     Defendants have a strong motive to conspire: The ability to keep their fragrance

formulas confidential is rapidly vanishing.

       56.     Historically, fragrance manufactures relied on secrecy to prevent competitors from

appropriating their formulas and creating duplicate fragrances.43 Today, technologies threaten to
reveal once-secret formulas. Gas chromatography-mass spectrometry (GC-MS) technology can

identify the chemical composition of a substance, effectively reverse engineering the formula of a

fragrance.

       57.     No intellectual property protections prevent fragrance manufacturers from using

GC-MS technology to reverse engineer fragrance formulas. Manufacturers generally cannot

patent their fragrance formulas, and while those formulas may be trade secrets, GC-MS technology

is not an improper method of learning that information.44

       58.     Between the lack of intellectual property protections and the increasing accuracy

and accessibility of GC-MS technology, well-resourced international corporations like Defendants


41
   Laruen Nardella, World’s Biggest Fragrance and Flavor Firms Join Forces to Champion
Science in Public Policy, HBW Insight (Mar. 31, 2021),
https://hbw.pharmaintelligence.informa.com/RS151176/Worlds-Biggest-Fragrance-And-Flavor-
Firms-Join-Forces-To-Champion-Science-In-Public-Policy.
42
   See Member Companies, FSAC, https://fsac.org/about/member-companies (last visited Aug. 2,
2023) (current member page only lists Bath&BodyWorks, DSM-Firmenich, Givaudan, and
Symrise).
43
   Charles Cronin, Lost and Found: Intellectual Property of the Fragrance Industry; from Trade
Secret to Trade Dress 9-10 (NYU J. Intell. Prop. & Ent. L. Working Paper No. 178, 2015).
44
   Id. at 8, 15-16.



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can reverse engineer their rivals’ fragrances and compete for their customers. But instead of

competing, Defendants colluded to fix prices, restrict output, and allocate the fragrance and

fragrance ingredient market.

V.     CLASS ACTION ALLEGATIONS
       59.    Plaintiff brings this action as a representative of a nationwide class under Federal

Rules of Civil Procedure 23(a) and (b)(3). The Class is defined as follows:
                   All persons and entities residing in the United States, who purchased a fragrance
                   or fragrance ingredient directly from a Defendant or their subsidiaries or
                   affiliates during the period January 1, 2018 through the present.
       60.    Defendants and their families, directors, officers, legal representatives, heirs,

successors, assigns, or any entity in which any Defendant has or had a controlling interest are

excluded from the class.

              1.       Numerosity (Rule 23(a)(1))
       61.    The Class is so numerous that joinder of all persons and entities in the class is

impracticable. Members of the Class are widely dispersed throughout the country. The exact

number of Class members can be determined from information in the possession and control of

the Defendants, but based on public records, the number of Class members is at least in the

hundreds.

              2.       Commonality (Rule 23(a)(2))
       62.    Numerous common issues of law and fact exist and predominate over questions

affecting only individual members. These issues include, without limitation:

                       Whether Defendants combined and/or conspired to fix, raise, maintain, or

                       stabilize prices of fragrances and fragrance ingredients sold to direct

                       purchasers in the United States at any time during the Class Period;

                       If Defendants entered into such a combination or conspiracy, whether that

                       conduct violates Section 1 of the Sherman Act under the per se, quick look,

                       or rule of reason modes of analysis;




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                       If Defendants entered into such a combination or conspiracy, whether that

                       conduct has in fact artificially inflated, maintained, or stabilized prices

                       relative to competitive levels;

                       Whether Plaintiff and members of the Class were injured by Defendants’

                       conduct and, if so, the proper measure of damages; and

                       The contours of appropriate injunctive relief to remediate the

                       anticompetitive effect of the challenged conduct in the future.

               3.      Typicality (Rule 23)(a)(3))
       63.     Plaintiff’s claims are typical of the claims of the Class members. Defendants

artificially raised prices and restrained trade, and thereby injured all members of the Class in

substantially identical fashion.

               4.      Adequacy (Rule 23(a)(4) and 23(g))
       64.     Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff’s

interests are not antagonistic to or in conflict with the interests they seek to represent as Class

representative. Plaintiff’s counsel is experienced in prosecuting complex antitrust class actions

and intends to prosecute this action vigorously.

               5.      Rule 23(b)(1)
       65.     This action is maintainable as a class action under Fed. R. Civ. P. 23(b)(1) because

prosecuting separate actions by individual Class members would create a risk of (A) inconsistent

or varying adjudications with respect to individual Class members that would establish

incompatible standards of conduct for the party opposing the Class; or (B) adjudications with

respect to individual Class members that, as a practical matter, would be dispositive of the interests

of the other members not parties to the individual adjudications or would substantially impair or

impede their ability to protect their interests. Specifically, separate actions by individual Class

members could produce varying adjudications as to, inter alia, whether Defendants conspired to

fix fragrance and fragrance ingredient prices, restrict output, or allocate the market.




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                6.      Rule 23(b)(2)
        66.     This action is maintainable as a class action under Rule 23(b)(2) because

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate monetary, injunctive, and other equitable relief in favor of the Class.

                7.      Rule 23(b)(3)
        67.     Questions of law and fact common to the Class members, including legal and

factual issues relating to violation and damages, predominate over any questions that may affect

only individual Class members, because Defendants have acted on grounds generally applicable

to the entire Class.

        68.     A class action is also superior to the other available methods for the fair and

efficient adjudication of this controversy. Requiring Class members to pursue their claims

individually would invite a host of separate suits, with concomitant duplication of costs, attorneys’

fees, and demands on judicial resources. Plaintiff knows of no difficultly that could be encountered

in the management of this litigation that would preclude its maintenance as a class action.

VI.     CLAIM FOR VIOLATION OF SECTION ONE OF THE SHERMAN ACT
        69.     Plaintiff repeats and realleges all previous allegations as if fully set forth herein.

        70.     Defendants formed a cartel to inflate, maintain, or stabilize artificially the price of

fragrance and fragrance ingredients from competitive levels, decrease artificially the output of

fragrance and fragrance ingredients from competitive levels, and allocate the market for fragrance

and fragrance ingredients in violation of Section One of the Sherman Act. See 15 U.S.C. § 1.

        71.     Plaintiff and the Class directly purchased fragrances and fragrance ingredients from

the Defendants at artificially inflated prices, suffering antitrust injury and damages as a

consequence of the Defendants’ cartel.

        72.     There are no procompetitive justifications for the Defendants’ cartel, and any

proffered justifications, to the extent legitimate, could be achieved through less restrictive means.




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       73.     The Defendants’ cartel is unlawful under a per se mode of analysis. In the

alternative, the Defendants’ cartel is unlawful under either a quick look or rule of reason mode of

analysis.

VII.   FRAUDULENT CONCEALMENT
       74.     Defendants concealed their conspiracy to restrain trade in the United States

fragrance and fragrance ingredient market. That concealment included pre-textual justifications

for price increases. As a result, Plaintiff and the Class had neither actual nor constructive

knowledge of the Defendants’ conduct until the international antitrust enforcers disclosed their

investigation in March 2023. Plaintiff and the Class could not have discovered Defendants’ cartel

before that time, even with reasonable diligence. Defendants are thus equitably estopped from

asserting a statute of limitations defense.

VIII. PETITION FOR RELIEF

       Plaintiff petitions for the following relief:

       1.      A determination that this action may be maintained as a class action pursuant to

               Federal Rule of Civil Procedure 23, that Plaintiff be appointed class representative,

               and that Plaintiff’s counsel be appointed as class counsel;

       2.      A determination that the conduct set forth herein is unlawful under Section 1 of the

               Sherman Act under either a per se, quick look, or rule of reason mode of analysis;

       3.      A judgment enjoining Defendants from engaging in further unlawful conduct;

       4.      Treble damages to members of the Class for overcharges paid for fragrance and

               fragrance ingredient purchases;

       5.      An award of attorneys’ fees and costs;

       6.      An award of pre- and post-judgment interest on all amounts awarded;

       7.      Injunctive relief; and

       8.      Such other relief as the Court deems just and equitable.




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IX.   JURY DEMAND

      Plaintiff requests a trial by jury on all issues so triable.




Dated: 8/2/2023                                Respectfully submitted,

                                               /s/ Jason Lichtman
                                               Jason Lichtman
                                               Emily N. Harwell (pro hac vice forthcoming)
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                                               Counsel for Plaintiff and the Proposed Class




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                            LOCAL RULE 11.2 CERTIFICATION
       I certify that the matter in controversy in this action is not the subject of any other action

pending in any court except for:

       1.      Our Own Candle Co., Inc. v. Givaudan S.A., et al., No. 23-cv-02174 (D.N.J.);

       2.      Candle Shoppe of the Poconos, Inc. v. Givaudan S.A., et al., No. 23-cv-03049

               (D.N.J.);

       3.      B & E Associates, Inc. v. Firmenich S.A., et al., No. 23-cv-03050 (D.N.J.);

       4.      Chautauqua Soap Co. v. Givaudan S.A. et al., No. 23-cv-03249 (D.N.J.);

       5.      Demeter F.L., Inc. v. Internationat’l Flavors & Fragrances Inc., et al., No. 23-cv-

               03265 (D.N.J.);

       6.      Hanna’s Candle Co. v. Internationat’l Flavors & Fragrances Inc., et al., No. 23-

               cv-03266 (D.N.J.);

       7.      Cospro Development Corp. v. Internationat’l Flavors & Fragrances Inc., et al.,

               No. 23-cv-03368 (D.N.J.);

       8.      Alexia Dahmes d/b/a Alexia Viola Napa Valley v. Firmenich SA, et al., No. 2:23-

               cv-03547 (D.N.J); and

       9.      Crimson Candle Supplies LLC v. DSM-Firmenich AG, et al., No. 2:23-cv-3875

               (D.N.J.).

       I further certify that the matter in controversy in this action is not the subject of any pending

arbitration or administrative proceeding. I declare under penalty of perjury that the foregoing is

true and correct.

     Executed on: 8/2/2023                     /s/ Jason Lichtman
                                               Jason Lichtman




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